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                                        U.S. District Court

                                       District of Colorado

Notice of Electronic Filing

The following transaction was entered on 2/12/2015 at 2:25 PM MST and filed on 2/10/2015
Case Name:           USA v. Brokaw et al
Case Number:         1:13-cr-00392-CMA
Filer:
Document Number: 418(No document attached)

Docket Text:
MINUTE ENTRY for proceedings held before Judge Christine M. Arguello: Sentencing
held on 2/10/2015 as to defendant Mimi M. Vigil. Defendant present; in custody.
Defendant sentenced as reflected on the record. Defendant remanded. (Total time:
00:21, Hearing time: 4:25-4:46)

APPEARANCES: Matthew Kirsch and Martha Paluch on behalf of the Government, Mimi
Vigil, pro se, Gary Burney and Robert Ford on behalf of probation. Court Reporter: Mary
George. (shart) Text Only Entry


1:13-cr-00392-CMA-3 Notice has been electronically mailed to:

Martha Ann Paluch Martha.Paluch@usdoj.gov, Mariah.Tracy@usdoj.gov, diana.brown@usdoj.gov,
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1:13-cr-00392-CMA-3 Notice has been mailed by the filer to:

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John J. Pawelski
6432 Rockville Drive
Colorado Springs, CO

Mimi M. Vigil
513 Shady Crest Circle
Colorado Springs, CO 80916




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